           Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 1 of 6 PageID #: 104

A0245B         (Rev. 09/08) Judgment in a Criminal Case
               Sheet I



                                           UNITED STATES DISTRICT COURT
                                                      DISTRICT OF RHODE ISLAND
                                                                           )
              UNITED STATES OF AMERICA                                     )         JUDGMENT IN A CRIMINAL CASE
                                   v.                                      )
                   Patrick Cunningham                                      )
                                                                           )         Case Number: 1 :13CR00030-01 M
                                                                           )         USM Number: 08950-070
                                                                           )
                                                                           )         Matthew 5. Dawson, Esq~-------­
                                                                                     Defendant's Attorney
THE DEFENDANT:
Itpleaded guilty to count(s)            I and II of the Information.

 0   pleaded nolo contendere to count(s)
     which was accepted by the court.
 D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                   Nature of Offense                                                             Offense Ended

 21 U.S.C.§ 846                     Conspiracy to Distribute and to Possess with Intent to Distribute
                                    Steroids                                                                      November 15, 2011



 21 U.S.C.§§ 331(a) and             Distribution of a Misbranded Drug                                                                      II
 333(a)(2)                                                                                                        November 15, 2011




       The defendant is sentenced as provided in pages 2 through                 6         ofthisjudgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)
D Count(s)    - - - · ·..· - - · - - - - - - - -
                                                          Dis      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenClant must notify the court and United States attorney of material changes in economtc circumstances.




                                                                                                    John J. McConnell, Jr.
                                                                                                            US District Judge
                                                                          Name and Title of Judge


                                                                          Date
          Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 2 of 6 PageID #: 105

AO 245B       (Rev. 09/08) Judgment in Criminal Case
              Sheet 2- Imprisonment
                                                                                                     Judgment- Page _   _.2.._____   of   _ _6___
DEFENDANT: Patrick Cunningham
CASE NUMBER: 1:13CR00030-01M


                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:

  18 months as to Counts I and II, to be served concurrently.



    0     The court makes the following recommendations to the Bureau of Prisons:




    0     The defendant is remanded to the custody of the United States Marshal.

    0     The defendant shall surrender to the United States Marshal for this district:

          D at        ______________ D a.m.                    0 p.m.       on

          D as notified by the United States Marshal.

    ~ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          r;/   before 2 p.m. on          8/20/2013
          D     as notified by the United States Marshal.

          D as notified by the Probation or Pretrial Services Office.


                                                                  RETURN
I have executed this judgment as follows:




          Defendant delivered on                                                          to

a _ _ _ _ _.                 _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL


                                                                         By
                                                                                               DEPUTY UNITED STATES MARSHAL
            Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 3 of 6 PageID #: 106

AO 245B       (Rev. 09/08) Judgment in a Criminal Case
              Sheet 3 - Supervised Release

                                                                                                                 Judgment-Page        3     of _ _6 ------
 DEFENDANT: Patrick Cunningham
 CASE NUMBER: 1 :13CR00030-01 M
                                                             SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
  3 years as to Count I and 1 year as to Count II, to run concurrently.

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an)' unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
 thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D      as direc~ed by the probatiOn offi~er, the Bureal! of Prisons, or any state sex offender registration agency in which he or she resides,
        works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)

 0       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION


  ~5
  1!     the defendant shall not leave the judicial district without permission of the court or probation officer;
         the defendant shall report to the probation officer in a marmer and freguency directed by the court or probation officer;
         the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
         the defendant shall support his or her dependants and meet other family responsibilities;
         the defendant shall woik regularly at a lawful occupation, unless excused by the probation officer for schooling, training or other
         acceptable reasons·
  6)     the defendant shall notify the probation officer at least ten days prior to an)' change in residence or employment;
  7)     the defendant shall refram from excessive use of alcohol and shall not purchase, possess, use, distribute, or admmister any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)     the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the pro6atJon officer;
  10)    the defendant Shall permit a probation officer to vtsit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 ll)     the defendant shall notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an mformer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal·
         record or personal bistory or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.


                                             FOR OFFICIAL USE ONLY- US PROBATION OFFICE

Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision or (2) extend the term of
supervision and/or (3) modify the conditions of supervision.
These conditions have been read to me. I fully understand them and have been provided a copy.
(Signed)

                                              Defendant                                                                Date


                               US Probation Officer/Designated Witness                                                 Date
          Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 4 of 6 PageID #: 107
AO 2458    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 3C- Supervised Release

                                                                                                    Judgment-Page      4     of       6
DEFENDANT: Patrick Cunningham
CASE NUMBER: 1 :13CR00030-01 M

                                         SPECIAL CONDITIONS OF SUPERVISION

In addition, the defendant shall comply with the following special condition(s):

 1. The defendant shall participate in a program of substance abuse treatment (inpatient or outpatient basis) as directed and approved
 by the United States Probation Office. The defendant shall contribute to the cost of such treatment based on ability to pay as
 determined by the probation officer.

 2. The defendant shall participate in a program of substance abuse testing (up to 72 drug tests per year) as directed and approved by
 the United States Probation Office. The defendant shall contribute to the cost of such testing based on ability to pay as determined by
 the probation officer.
          Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 5 of 6 PageID #: 108
AO 245B    (Rev. 09/08) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties

                                                                                                          Judgment- Page      5     of        6
DEFENDANT: Patrick Cunningham
CASE NUMBER: 1:13CR00030-01M
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                                             Fine                               Restitution
TOTALS             $ 200.00                                               $ 0.00                             $ 0.00


0 The determination of restitution is deferred until - - - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

0    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all non-federar victims must be paid
     before the United States is paid.

Name of Payee                                                            Total Loss*           Restitution Ordered         Priority or Percentage




TOTALS                               $                            0.00          $                    0.00


0     If applicable, Restitution amount ordered pursuant to plea agreement $

0    The defendant shall pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

0     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the               D fine      D restitution.
      D the interest requirement for the              D   fine    D restitution is modified as follows:


*Findings for the total amountoflosses are required under Chapters 109A, 110, llOA, and 113AofTitle 18 for offenses committed on or after
Septeml:ier 13, 1994, but before April23, 1996.
            Case 1:13-cr-00030-JJM-PAS Document 15 Filed 07/31/13 Page 6 of 6 PageID #: 109
AO 245B     (Rev. 09/08) Judgment in a Criminal Case
            Sheet 6- Schedule of Payments

                                                                                                                 Judgment-Page __6_ of                    6
DEFENDANT: Patrick Cunningham
CASE NUMBER: 1 :13CR00030-01 M

                                                        SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri{   Lump sum payment of$ _20_0_._0_0_ _ __ due immediately.

            D     not later than                                      , or
            D     in accordance           D C,         D D,      D      E, or    D F below; or
B     D     Payment to begin immediately (may be combined with                  oc,        D D, or       D F below); or
C     D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D     D     Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     D     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
